     Case 2:13-cr-00361-KJD-GWF             Document 192        Filed 04/29/16      Page 1 of 2




 1

 2

 3

 4

 5

 6

 7                            UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11          Appellee,                                    Case No. 2:13-CR-00361-KJD-GWF

12   v.                                                  ORDER

13   ALIA BOBER,

14          Appellant.

15

16          Presently before the Court is an Order for Time Schedule (#190) as to the Notice of Appeal

17   filed by Appellant on February 22, 2016 (#187). This case has been remanded to the Court by the

18   Ninth Circuit Court of Appeals for the limited purpose of permitting this Court to provide Appellant

19   notice and an opportunity to request that the time for filing notice of appeal to be extended, for a

20   period not to exceed 30 days from the expiration of the time prescribed by Rule 4(b) of the Federal

21   Rules of Appellate Procedure. See Fed. R. App. P. 4(b)(4); United States v. Ono, 72 F.3d 101, 103

22   (9th Cir. 1995); United States v. Stolarz, 547 F.2d 108 (9th Cir. 1976).

23          While the time for requesting an extension has expired pursuant to Rule 4(b), due to remand,

24   Appellant is permitted to show excusable neglect or good cause as to why this Court should grant

25   Appellant an extension of the time for the filing of her notice of appeal.

26
     Case 2:13-cr-00361-KJD-GWF            Document 192        Filed 04/29/16      Page 2 of 2




 1             Accordingly, IT IS SO ORDERED that Appellant show excusable neglect or good cause as

 2   to why this Court should grant Appellant an extension of the time for the filing of her notice of

 3   appeal.

 4

 5   IT IS SO ORDERED.

 6             DATED this 29th day of April 2016.

 7

 8

 9

10                                                  _____________________________
                                                    Kent J. Dawson
11                                                  United States District Judge

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                        2
